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                                                   FILED
                                                  Jan 28, 2022
                                                  Sep     2023
                                               CLERK, U.S. DISTRICT COURT
                                             EASTERN DISTRICT OF CALIFORNIA




                                     SEALED

                                               2:23-cr-0250 DJC
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                                                                                2:23-cr-0250 DJC
No.



                              UNITED STATES DISTRICT COURT

                                       Eastern District of California

                                             Criminal Division


                               THE UNITED STATES OF AMERICA
                                                       vs.

                                       STEVENDANIE LMILLER


                                             IND IC TMENT

                             VIOLATION(S): 18 U.S.C. § 1344 - Bank Frau d;
                               18 U.S.C. § 1028A-Aggravate d Identity Theft;
      18 U.S.C. § 981(a)(l)(C), 28 U.S.C. § 2461(c), an d 18 U.S.C. § 982(a)(2)(A)-Criminal Forfeiture


             A true bill,          Isl Signature on file w/AUSA

                                                  Foreman.


                                               28th
              Filed in open court this ___ _________ day

                   September
              of _____________           23 _
                               ,A.D. 20 ____

                                      /s/ R. Alvarez
                                                   Clerk.



             Bail,$ _ _::_·___________




                                                GPO 863 525
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